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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Loot Crate, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3401 Pasadena Avenue
                                  Los Angeles, CA 90031-1929
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.lootcrate.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Loot Crate, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  4541

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Attachment                                                 Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Loot Crate, Inc.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Loot Crate, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 11, 2019
                                                  MM / DD / YYYY


                             X /s/ Stuart Kaufman                                                         Stuart Kaufman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Jamie L. Edmonson                                                       Date August 11, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jamie L. Edmonson
                                 Printed name

                                 Robinson & Cole LLP
                                 Firm name

                                 1000 N. West Street
                                 Suite 1200
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-4800                Email address      jedmonson@rc.com

                                 4247 DE
                                 Bar number and State




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Debtor     Loot Crate, Inc.                                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     LC Funding, Inc.                                                        Relationship to you               Affiliate
District   Delaware                                   When                         Case number, if known

                                                                                                                     100% owner of Loot
Debtor     Loot Crate Holdings, Inc.                                               Relationship to you               Crate, Inc.
District   Delaware                                   When                         Case number, if known
Debtor     Loot Crate Parent, Inc.                                                 Relationship to you               Affiliate
District   Delaware                                   When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                  )     Chapter 11
In re:                                            )
                                                  )     Case No. 19- ______ ( )
LOOT CRATE, INC.,                                 )
                                                  )     (Joint Administration Requested)
                             Debtor.              )
                                                  )

                         CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Loot Crate, Inc. (the “Debtor”) lists below all persons that directly own 10% or more of any

class of the corporation’s outstanding shares of capital stock:

    OWNER                                                PERCENTAGE OF SHARES

    Loot Crate Holdings, Inc.                                          100%


         The Debtor declares under penalty of perjury that this Corporate Ownership Statement is

true and correct.



Dated: August 11, 2019

                                          LC FUNDING, INC.


                                          /s/ Stuart Kaufman
                                          Stuart Kaufman
                                          Chief Restructuring Officer
                                          3401 Pasadena Avenue
                                          Los Angeles, California, 90031
                                          Telephone: (312) 781-7526
                                          Email:      SKaufman@pppllc.com




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                            LOOT CRATE PARENT, INC.
                               LC FUNDING, INC.
                           LOOT CRATE HOLDINGS, INC.
                               LOOT CRATE, INC.

                                  Officer’s Certificate

                                    August 11, 2019

        I, Stuart Kaufman, do hereby certify, on behalf of Loot Crate Parent, Inc., a
Delaware corporation, LC Funding, Inc., a Delaware corporation, Loot Crate Holdings,
Inc., a Delaware corporation, and Loot Crate, Inc., a Delaware corporation (each, a “LC
Entity,” and collectively, the “LC Entities”), and not individually, that I am the duly
appointed and acting Chief Restructuring Officer of each LC Entity, and that, as such, I am
authorized to execute and deliver this certificate.

        I further certify, on behalf of each LC Entity and not individually, as of the date
hereof, that attached hereto as Exhibit A is a true, correct, and complete copy of the
resolutions duly adopted by the Boards of Directors of the LC Entities pursuant to a duly
held meeting. Such resolutions or any LC Entity actions taken pursuant thereto have not
been amended, superseded, modified, or rescinded, and such resolutions are in full force
and effect on the date hereof.

         IN WITNESS WHEREOF, I have hereunto set my hand on the date first written
above.




                                             By:    /s/ Stuart Kafuman
                                             Name: Stuart Kaufman
                                             Title: Chief Restructuring Officer of
                                                    Loot Crate Parent, Inc.,
                                                    LC Funding, Inc.,
                                                    Loot Crate Holdings, Inc. and
                                                    Loot Crate, Inc.




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                     EXHIBIT A




                    [See Attached]




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                                         RESOLUTIONS OF
                                    THE BOARDS OF DIRECTORS
                                              OF
                                    LOOT CRATE PARENT, INC.,
                                       LC FUNDING, INC.,
                                   LOOT CRATE HOLDINGS, INC.
                                             AND
                                       LOOT CRATE, INC.

        WHEREAS, the members of the Boards of Directors (the “Boards”) of Loot Crate Parent,
Inc., a Delaware corporation (“Parent”), LC Funding, Inc., a Delaware corporation (“Funding”),
Loot Crate Holdings, Inc., a Delaware corporation (“Holdings”), and Loot Crate, Inc., a
Delaware corporation (the “Company;” and together with Parent, Funding and Holdings, the
“LC Entities”) have (a) regularly and carefully reviewed the materials and other information
presented by the LC Entities’ management and advisors regarding the LC Entities’ business
conditions, the LC Entities’ operations, their current and projected financial position, and other
relevant information; (b) thoroughly evaluated the LC Entities’ strategic alternatives, including a
possible restructuring; (c) conferred extensively with the LC Entities’ management and advisors
regarding these matters; (d) determined that the filing of a voluntary petition for relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) is in the best interest of
the LC Entities, their creditors, their stockholders, and other interested parties; (e) determined
that the entry into the Financing Transactions (as defined herein) is in the best interest of the LC
Entities, their creditors, their stockholders, and other interested parties; (f) determined that entry
into the Sale Transaction (as defined herein) is in the best interest of the LC Entities, their
creditors, their stockholders and other interested parties; and (g) determined that it is in the best
interest of the LC Entities, their creditors, their stockholders, and other interested parties that the
LC Entities retain the Restructuring Professionals (as defined herein).

CHAPTER 11 FILING

        NOW THEREFORE, BE IT RESOLVED, that the LC Entities shall be, and each of them
individually hereby is, authorized to file, on or before August 11, 2019, a voluntary petition (the
“Petition”) for relief under the Bankruptcy Code (the “Chapter 11 Case”), in the United States
Bankruptcy Court for the District of Delaware or such other court as an officer of such LC Entity
(each, an “Authorized Signatory” and collectively, the “Authorized Signatories”) shall
determine to be appropriate (the “Bankruptcy Court”), and perform any and all such acts as are
reasonable, advisable, expedient, convenient, proper, or necessary to effect the foregoing, the
performance of such acts to constitute conclusive evidence of the reasonableness, advisability,
expedience, convenience, appropriateness, or necessity thereof.

        RESOLVED FURTHER, that the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
respective LC Entity, to: (a) execute, acknowledge, deliver, and verify the Petition and all other
ancillary documents, and cause the Petition to be filed with the Bankruptcy Court and make or
cause to be made prior to execution thereof any modifications to the Petition or ancillary
documents as any such Authorized Signatory, in such person’s discretion, deems necessary,


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desirable, or appropriate to carry out the intent and accomplish the purposes of these resolutions;
(b) execute, acknowledge, deliver, verify, and file or cause to be filed all petitions, schedules,
statements, lists, motions, applications, and other papers or documents necessary or desirable in
connection with the foregoing; (c) execute, acknowledge, deliver, and verify any and all other
documents necessary, desirable, or appropriate in connection therewith and to administer the
LC Entities’ Chapter 11 Case in such form or forms as any such Authorized Signatory may
approve, and the actions of any Authorized Signatory taken pursuant to this resolution, including
the execution, acknowledgment, delivery, and verification of the Petition and all ancillary
documents and all other agreements, certificates, instruments, guaranties, notices, and other
documents, shall be conclusive evidence of such Authorized Signatory’s approval and the
necessity, desirability, or appropriateness thereof; and (d) take any action as may be deemed
necessary, desirable, or appropriate to carry out the intent of this resolution, including the filing
of the Petition and any ancillary documents.

EXECUTIVE AUTHORITY

        RESOLVED FURTHER, that the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
respective LC Entity, to (a) expand the retention of Mark Palmer of Theseus Strategy Group to
oversee the preparation of the LC Entities’ filings in connection with the Chapter 11 Case and be
involved in all aspects related thereto (the “Interim Management Services”) and (b) negotiate
and enter into a services agreement with Mark Palmer of Theseus Strategy Group in connection
therewith substantially in the form provided to or discussed with the Boards (the “Services
Agreement”).

       RESOLVED FURTHER, that Mark Palmer’s duties as chief transformation officer of each
LC Entity (“CTO”) shall be primarily focused on the Sale Transaction and operations, including,
but not limited to, vendor management and employees, until his earlier death, resignation or
removal.

          RESOLVED FURTHER, that Mark Palmer will report directly to the Board of each LC
Entity.

        RESOLVED FURTHER, that the Authorized Signatories be, and each hereby is, authorized,
in his or her discretion in the name of and on behalf of the respective LC Entity to take such
further action as is necessary in the performance of all the respective LC Entity’s obligations
arising under or relating to retaining Mark Palmer of Theseus Strategy Group to provide Interim
Management Services, including Mark Palmer as a CTO, whether now existing or hereafter
incurred, to make, execute, and deliver any and all agreements, documents, instruments, papers,
or writings as may be required or desirable in connection with, or in furtherance of, retaining
Mark Palmer of Theseus Strategy Group, including the Services Agreement, pay retainers, and to
do any and all other acts necessary or desirable to effectuate such retention and the transactions
contemplated thereby.

      RESOLVED FURTHER, that Christopher Davis will continue as Chief Executive Officer of
each LC Entity with duties focused on sales, marketing, and curation and Stuart Kaufman will



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continue as a CRO of each LC Entity with duties primarily focused on finance matters, reporting,
and case management for the Chapter 11 Case.

RESTRUCTURING PROFESSIONALS

        RESOLVED FURTHER, that the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
respective LC Entity, to retain: (a) Bryan Cave Leighton Paisner LLP (“BCLP”), as lead counsel;
(b) Robinson & Cole LLP (“RC”), as Delaware and conflicts counsel; (c) FocalPoint Securities,
LLC, as investment banker, pursuant to an amended engagement letter substantially in the form
provided to or discussed with the Boards; (d) Portage Point Partners, as financial advisor; (e)
Stuart Kaufman of Portage Point Partners, as CRO; (f) Mark Palmer of Theseus Strategy Group,
as CTO; (g) Bankruptcy Management Solutions, Inc. d/b/a Stretto, as claims agent, pursuant to
an engagement letter substantially in the form provided to or discussed with the Boards; (h)
Sitrick and Company, as communications and public relations consultant, pursuant to an
engagement letter substantially in the form provided to or discussed with the Boards; and (i) such
additional professionals, including attorneys, accountants, financial advisors, investment
bankers, actuaries, consultants, agents, or brokers (together with the foregoing identified firms,
the “Restructuring Professionals”), in each case as in any such Authorized Signatory’s
judgment may be necessary, desirable, or appropriate in connection with the LC Entities’
Chapter 11 Case and other related matters, on such terms as such Authorized Signatory or
Authorized Signatories shall approve and such Authorized Signatory’s retention thereof to
constitute conclusive evidence of such Authorized Signatory’s approval and the necessity,
desirability, or appropriateness thereof.

        RESOLVED FURTHER, that the law firms of BCLP and RC and any additional special or
local counsel selected by the Authorized Signatories, if any, shall be, and hereby are, authorized,
empowered, and directed to represent the LC Entities, as debtors and debtors in possession, in
connection with any Chapter 11 Case commenced by or against it under the Bankruptcy Code.

DEBTOR IN POSSESSION FINANCING, CASH COLLATERAL AND ADEQUATE
PROTECTION

         RESOLVED FURTHER, that the LC Entities, as debtors and debtors in possession under
chapter 11 of the Bankruptcy Code, shall be, and each hereby is, authorized to: (a) enter into and
incur any obligations under a new debtor in possession financing (“DIP Financing”) facility or
facilities, including use of cash collateral as set forth below, and any associated documents and
consummate the transactions contemplated therein, for funding substantially consistent with the
budget substantially in the form provided to or discussed with the Boards, and pursuant to a
credit agreement (substantially in the form provided to or discussed with the Boards) with
Money Chest LLC (the “DIP Lender”), subject to modifications (collectively, the “Financing
Transactions”) as may be approved by any one or more of the Authorized Signatories, as may be
necessary, desirable, or appropriate for the continuing conduct of the affairs of the LC Entities;
and (b) pay related fees, incur (or guarantee, as applicable) the debt and other obligations and
liabilities contemplated by the Financing Transactions, and grant security interests in and liens
upon some, all, or substantially all of the LC Entities’ assets in each case as may be deemed



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necessary, desirable, or appropriate by any one or more of the Authorized Signatories in
connection with the Financing Transactions.

        RESOLVED FURTHER, that: (a) the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
each LC Entity, as a debtor and debtor in possession, to take such actions and execute,
acknowledge, deliver, and verify such certificates, instruments, guaranties, credit agreements,
pledge agreements, security agreements, promissory notes, letter of credit applications,
mortgages, intellectual property security agreements, account control agreements, other collateral
documents or security instruments, instruments, notices, and any and all other agreements or
documents arising in connection with the Financing Transactions as the Authorized Signatories
may deem necessary, desirable, or appropriate to facilitate the Financing Transactions, in each
case including any amendment, amendment and restatement, supplements, or other modifications
to the foregoing (collectively, the “Financing Documents”); (b) Financing Documents
containing such provisions, terms, conditions, covenants, warranties, and representations as may
be deemed necessary, desirable, or appropriate by the Authorized Signatories are hereby
approved; and (c) the actions of any Authorized Signatory taken pursuant to this resolution,
including the execution, acknowledgement, delivery, and verification of all such Financing
Documents, shall be conclusive evidence of such Authorized Signatory’s approval and the
necessity, desirability, or appropriateness thereof.

       RESOLVED FURTHER, that the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
each LC Entity, as a debtor and debtor in possession, to obtain benefits from the use of collateral,
including cash collateral, as that term is defined in section 363(b) of the Bankruptcy Code (the
“Cash Collateral”), which is security for the prepetition secured lender under the LC Entities’
Credit Agreement dated as of August 3, 2018 (the “Prepetition Credit Agreement”).

        RESOLVED FURTHER, that, in order to use and obtain the benefits of the Cash Collateral
and in accordance with section 363 of the Bankruptcy Code, the LC Entities will provide certain
adequate protection on terms consistent with market practices for chapter 11 cases and
circumstances similar to those of the LC Entities (the “Adequate Protection Obligations”), as
documented in a proposed interim DIP order (substantially in the form provided to or discussed
with the Boards), with such changes, additions and modifications thereto as an Authorized
Signatory executing the same shall approve, such approval to be conclusively evidenced by an
Authorized Signatory’s execution and delivery thereof.

       RESOLVED FURTHER, that each LC Entity, as a debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to negotiate and incur the Adequate Protection
Obligations and to undertake any and all related transactions (including delivery of any
agreements, certificates, instruments, guaranties, notices and any and all other documents) on
substantially the same terms as contemplated under the Financing Documents.




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BIDDING PROCEDURES MOTION AND MARKETING PROCESS

        RESOLVED FURTHER, that in the judgment of the Boards, it is desirable and in the best
interest of the LC Entities, their creditors, their stockholders and other interested parties, that
each LC Entity shall be, and hereby is, authorized to file with the Bankruptcy Court a motion
seeking approval of, among other things, (a) a sale of all or substantially all of the Company’s
assets (the “Sale Transaction”) pursuant to a stalking horse asset purchase agreement with a
special purpose entity affiliated with the DIP Lender that will be finalized, approved by the
Board of the Company and filed with the Bankruptcy Court following the commencement of the
Chapter 11 Case (the “APA”) and (b) the proposed bidding procedures and timing for a Sale
Transaction as set forth in the schedule of milestones agreed to by the DIP Lender and the
Company, in substantially the form provided to or discussed with the Boards, which will be
incorporated in the Financing Documents as a critical consideration for the DIP Lender’s
agreement to provide the DIP Financing through the hearing to approve a Sale Transaction (the
“Bidding Procedures Motion”).

        RESOLVED FURTHER, that in the judgment of the Boards, it is desirable and in the best
interest of the LC Entities, their creditors, their stockholders and other interested parties, that
each LC Entity shall be, and hereby is, authorized to engage in a marketing process to resolicit
parties for their interest in the Company’s assets, to ensure the APA provides the highest or
otherwise best offer for the Company’s assets (the “Marketing Process”).

        RESOLVED FURTHER, that the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
respective LC Entity, as a debtor and debtor in possession, to file the Bidding Procedures
Motion, on behalf of the respective LC Entity, and to pursue the Marketing Process, and to take
any and all actions necessary or advisable to advance the LC Entities’ rights and obligations
thereunder, including filing of additional pleadings; and in connection therewith, each
Authorized Signatory, with power of delegation, is hereby authorized and directed to take all
necessary actions in furtherance of the foregoing resolutions.

GENERAL

        RESOLVED FURTHER, that, in addition to the specific authorizations heretofore conferred
upon the Authorized Signatories, the Authorized Signatories shall be, and each of them
individually hereby is, authorized, directed, and empowered, in the name and on behalf of the
each LC Entity, as a debtor and debtor in possession, with full power of delegation, to take or
cause to be taken any and all such further actions and to execute and deliver or cause to be
executed or delivered, and to amend, supplement, or otherwise modify from time to time, any
and all such agreements, documents, certificates, instruments, statements, notices, undertakings,
amendments, and other writings, and to incur and to pay or direct payment of all such fees and
expenses, including filing fees, as in the judgment of the Authorized Signatory shall be
necessary, desirable, or appropriate to effectuate the purpose and intent of any and all of the
foregoing resolutions adopted herein.




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       RESOLVED FURTHER, that all acts lawfully done or actions lawfully taken by any
Authorized Signatory, or at the direction of an Authorized Signatory, or by any of the
Restructuring Professionals at the direction of an Authorized Signatory, in connection with the
Chapter 11 Case or any proceedings related thereto, or any matter related thereto, be, and hereby
are, adopted, ratified, confirmed, and approved in all respects as the acts and deeds of the
Company.

        RESOLVED FURTHER, that any and all lawful actions done and transactions undertaken
by any Authorized Signatory, or at the direction of an Authorized Signatory, for and on behalf
and in the name of the respective LC Entity with respect to any transactions contemplated by the
foregoing resolutions before the adoption of the foregoing resolutions be, and they hereby are,
ratified, authorized, approved, adopted, and consented to in all respects for all purposes.

        RESOLVED FURTHER, that the Boards and any Authorized Signatory hereby are
authorized and directed to certify and/or attest these resolutions, certificate of incumbency, and
such other documents or instruments that the Secretary of the respective LC Entity may deem
necessary or appropriate in connection with the foregoing matters; provided, however, that such
certification and/or attestation shall not be required for any document, instrument, or agreement
to be valid and binding on the respective LC Entity.




                                                6
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 Fill in this information to identify the case:
 Debtor name Loot Crate, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                      Check if this is an

 Case number (if known):                                                                                                                           amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

 Name of creditor and complete mailing              Name, telephone number and email          Nature of claim     Indicate if claim   Amount of claim
 address, including zip code                        address of creditor contact               (for example,        is contingent,     If the claim is fully unsecured, fill in only
                                                                                              trade debts, bank   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              loans,                  disputed        secured, fill in total claim amount and
                                                                                              professional                            deduction for value of collateral or setoff to
                                                                                              services, and                           calculate unsecured claim.
                                                                                              government                              Total          Deduction Unsecured claim
                                                                                              contracts)                              claim, if      for value
                                                                                                                                      partially      of
                                                                                                                                      secured        collateral
                                                                                                                                                     or setoff
 Something Inked /AIA Corporation                                                             Trade Debt                                                          $4,784,203.15
 800 W. Winneconne Avenue                           csr@somethinginked.com
 Neenah, WI 54956-3196                              (615) 499-4228


 McKinsey & Company, Inc.                           Charlotte Ulrey                           Professional                                                        $2,353,577.00
 United States                                                                                Fees
 P.O. Box 7247-7255                                 Charlotte_Ulrey@mckinsey.com
 Philadelphia, PA 19170-7255                        (727) 299-6031

 Money Chest LLC                                    Erin Fay                                  Convertible                                                         $2,994,939.00
 8635 West Sahara Avenue                                                                      Note
 Suite 664                                          efay@bayardlaw.com
 Las Vegas, NV 89117                                (302) 429-4242



 Clear Finance Technology                           Andrew D'Souza                            Loan                Contingent                                      $2,202,276.95
 Corporation                                                                                                      Disputed
 dba Clearbanc                                      support@clearbanc.com
 548 Market Street                                  (415) 952-9864
 Suite 68100
 San Francisco, CA 94104

 RR Donnelley Receivables, Inc.                     Deborah Steiner                           Trade Debt                                                          $1,515,683.87
 P.O. Box 932721
 Cleveland, OH 44193                                (800) 742-4455


 K&S Specialty Products                                                                       Trade Debt                                                          $1,427,665.84
 25526 Hardy Place                                  kyletla@gmail.com
 Stevenson Ranch, CA 91381                          (661) 755-2250




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 1

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 Debtor    Loot Crate, Inc.                                                                                  Case number (if known)
           Name

 Name of creditor and complete mailing              Name, telephone number and email          Nature of claim     Indicate if claim   Amount of claim
 address, including zip code                        address of creditor contact               (for example,        is contingent,     If the claim is fully unsecured, fill in only
                                                                                              trade debts, bank   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              loans,                  disputed        secured, fill in total claim amount and
                                                                                              professional                            deduction for value of collateral or setoff to
                                                                                              services, and                           calculate unsecured claim.
                                                                                              government                              Total          Deduction Unsecured claim
                                                                                              contracts)                              claim, if      for value
                                                                                                                                      partially      of
                                                                                                                                      secured        collateral
                                                                                                                                                     or setoff
 Gold Wing Toys Products Limited                                                              Trade Debt                                                          $1,274,986.90
 232 Des Voeux Road                                 calvint@goldwinghk.com
 Central Hong Kong                                  (310) 469-1019


 Bio World Merchandising Inc.                                                                 Convertible                                                         $1,477,205.00
 2111 West Walnut Hill Lane                         rajm@bioworldmerch.com                    Note
 Irving, TX 75038                                   mikeh@bioworldmerch.com


 Facebook, Inc.                                                                               Trade Debt                                                          $1,036,305.80
 Attn: Accounts Receivable                          ar@facebook.com
 15161 Collections Center Drive                     (855) 232-8440
 Chicago, IL 60693


 Just Funky, LLC                                                                              Trade Debt          Disputed                                           $809,500.00
 4160 Highlander Parkway                            (234) 249-0145
 Suite 100
 Richfield, OH 44286


 Global One Accessories LLC                         Brandon Michaels                          Trade Debt          Disputed                                           $696,590.75
 7 Shaker Hollow Road
 East Setauket, NY 11733                            brandon.michaels@whluda.com
                                                    (917) 242-5260


 Bensussen Deutsch & Associates                     Patricia                                  Trade Debt                                                             $649,612.91
 P.O. Box 31001-2214
 Pasadena, CA 91110-2214                            patriciaA@bdainc.com
                                                    (562) 215-7395


 Trend Setters, Ltd.                                                                          Trade Debt                                                             $588,066.35
 22500 State Route 9                                sam@trendsettersltd.com
 Tremont, IL 61568                                  (309) 929-7012


 JPL Associates, Inc.                                                                         Trade Debt                                                             $577,424.50
 dba Promotional Concepts Team                      john@pconceptsteam.com
 4179 SW 64th Avenue                                (954) 929-6024 Ext. 304
 Suite 201
 Fort Lauderdale, FL 33314




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 2

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 Debtor    Loot Crate, Inc.                                                                                  Case number (if known)
           Name

 Name of creditor and complete mailing              Name, telephone number and email          Nature of claim     Indicate if claim   Amount of claim
 address, including zip code                        address of creditor contact               (for example,        is contingent,     If the claim is fully unsecured, fill in only
                                                                                              trade debts, bank   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              loans,                  disputed        secured, fill in total claim amount and
                                                                                              professional                            deduction for value of collateral or setoff to
                                                                                              services, and                           calculate unsecured claim.
                                                                                              government                              Total          Deduction Unsecured claim
                                                                                              contracts)                              claim, if      for value
                                                                                                                                      partially      of
                                                                                                                                      secured        collateral
                                                                                                                                                     or setoff
 Jack Nadel, Inc.                                   Pauline Metzler                           Trade Debt                                                             $574,999.80
 8701 Bellanca Avenue
 Los Angeles, CA 90045                              pauline.metzler@nadel.com
                                                    (310) 815-5424

 Geoff Arens                                        Geoff Arens                               Convertible                                                            $560,597.56
 c/o Dendera Advisory                                                                         Note
 747 Third Avenue                                   arens@denderaadvisory.com
 26th Floor                                         (212) 520-7875
 New York, NY 10017


 Greenberg Traurig LLP                              Paul A. McLean                            Professional                                                           $509,465.36
 1900 University Avenue                                                                       Fees
 Suite 500                                          mcleand@gtlaw.com
 Palo Alto, CA 94303                                (650) 289-7848


 MLB Advanced Media, LP                             Jennifer R. Simms                         Trade Debt                                                             $500,000.00
 75 Ninth Avenue
 New York, NY 10011                                 jennifer.simms@mlb.com
                                                    (212) 931-7900

 Marvel Brands LLC                                                                            Trade Debt                                                             $468,650.97
 500 South Buena Vista Street                       mescoto@marvel.com
 Burbank, CA 91521-9600


 Brian Laibow                                       Brian Laibow                              Convertible                                                            $369,301.00
                                                                                              Note
                                                    blaibow@gmail.com


 Pacific Capital Management                         Jonathan Glaser                           Convertible                                                            $369,301.00
                                                                                              Note
                                                    jon@jmgcapital.com


 Protiviti, Inc.                                                                              Professional                                                           $366,530.20
 12269 Collections Center Drive                     probill@protiviti.com                     Fees
 Chicago, IL 60693                                  (213) 327-1400


 Zak Designs, Inc.                                                                            Trade Debt                                                             $357,521.60
 P.O. Box 19188                                     mcgavran@zak.com
 Spokane, WA 99219-9188                             (509) 244-0555




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 3

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 Debtor    Loot Crate, Inc.                                                                                  Case number (if known)
           Name

 Name of creditor and complete mailing              Name, telephone number and email          Nature of claim     Indicate if claim   Amount of claim
 address, including zip code                        address of creditor contact               (for example,        is contingent,     If the claim is fully unsecured, fill in only
                                                                                              trade debts, bank   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              loans,                  disputed        secured, fill in total claim amount and
                                                                                              professional                            deduction for value of collateral or setoff to
                                                                                              services, and                           calculate unsecured claim.
                                                                                              government                              Total          Deduction Unsecured claim
                                                                                              contracts)                              claim, if      for value
                                                                                                                                      partially      of
                                                                                                                                      secured        collateral
                                                                                                                                                     or setoff
 Shanon Hsu                                         Shannon Hsu                               Convertible                                                            $353,811.50
 c/o Dendera Advisory                                                                         Notes
 747 Third Avenue                                   hsu@denderaadvisory.com
 26th Floor                                         (212) 520-7875
 New York, NY

 Design International Group, Inc.                   Michael Yeh                               Trade Debt                                                             $326,084.55
 c/o DCN Holdings, Inc.
 1806 33rd Street                                   michael.yeh@luckygroup.biz
 Suite 180                                          (626) 369-2289
 Orlando, FL 32839

 Sidebench Studio, LLC                                                                        Trade Debt          Disputed                                           $317,951.30
 10317 Washington Boulevard                         arthur@sidebench.com
 Culver City, CA 90232                              (310) 893-3589



 Six Star (Hong Kong) Ltd.                          Jennifer Carey                            Trade Debt          Disputed                                           $310,405.32
 dba Lucky Group
 94 Granville Road                                  jennifer.carey@accountsreceivab
 Tsim Sha Tsui East                                 le.com
 Sutie 508                                          (321) 710-4892
 Intercontinental Plaza
 Kowloon, Hong Kong

 Federal Express                                    Robin Wilson                              Trade Debt                                                             $305,591.95
 P.O. Box 7221
 Pasadena, CA 91109-7321                            robin.wilson@fedex.com
                                                    (818) 731-7470


 Landsberg Orora                                    Pete Aude                                 Trade Debt          Disputed                                           $301,827.76
 1900 W. University Drive
 Suite101                                           pete.aude@landsberg.com
 Tempe, AZ 85281                                    (323) 832-2000


 Vantiv, LLC                                        Chris Kemper                              Trade Debt          Contingent                                             Unknown
 8500 Governors Hill Drive                                                                                        Disputed
 Symmes Township, OH                                chris.kemper@worldpay.com
 45249-1384                                         (513) 788-1677




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 4

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 Fill in this information to identify the case:

 Debtor name         Loot Crate, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 11, 2019                         X /s/ Stuart Kaufman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Stuart Kaufman
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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